   1   /s/ Russell Brown
       CHAPTER 13 TRUSTEE
   2   Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
       Fax 602-253-8346
   5   mail@ch13bk.com
   6
                             UNITED STATES BANKRUPTCY COURT

   7                                      DISTRICT OF ARIZONA
       In re                                             Chapter 13
   8

   9   CARLOS V. PASSAPERA, JR.,                         Case No. 2-15-bk-02947 BKM

  10                                                        TRUSTEE'S NOTICE OF
  11                                                        COMPLETED PLAN
                                           Debtor.
  12

  13       Russell Brown, Chapter 13 Trustee, states that the Debtor has completed the financial and

  14   other requirements of the Plan. Debtor has complied with § 521(a)(3) by providing the Trustee

  15   with the domestic support obligation information required to enable him to perform his

  16   statutory duty under § 1302(d)(1)(C). If the Debtor has nondischargeable debts, such as

  17   student loan debt or certain tax debts, then the Debtor should consider making payment

  18   arrangements with any creditor on such debts.

  19   A copy was mailed or emailed to:
  20   Carlos V. Passapera, Jr.
       24887 West Vista Norte Court
  21   Buckeye, AZ 85326
       Debtor
  22
       Perez Law Group, Pllc
  23   cperez@perezlawgroup.com
       Attorney for Debtor
  24

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  26                         2020.07.21 08:58:31
                             -07'00'
  27
       V Barnard


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